 
    

        
		
        

        
        
        
        
        

        
		
        	
		RE RATE FOR TRANSCRIPTS PAID BY THE COURT FUND



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:RE RATE FOR TRANSCRIPTS PAID BY THE COURT FUND

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				RE RATE FOR TRANSCRIPTS PAID BY THE COURT FUND2020 OK 2Decided: 01/13/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 2, __ P.3d __

				

RE:&nbsp;Rate for Transcripts Paid by the Court Fund



ORDER

This Order shall supersede SCAD Order No. 85-3, issued by the Chief Justice on February 27, 1985. In any criminal case in which the defendant is indigent and the transcript costs are paid from Court Fund monies, the applicable transcript fee shall be the then-current statutory amount set forth in 20 O.S. §106.4, as may be amended from time to time, for an original transcript and two copies. The transcript rate, as of the date of this Order, is $3.50 per page. If any additional copies of the transcript, beyond the original and two, are purchased from the court reporter at public expense (by the Court Fund, District Attorney, or other State of Oklahoma entity), the applicable fee shall not exceed ten cents ($0.10) per page. This directive shall take effect on the 31st day of January 2020.

DONE BY ORDER OF THE OKLAHOMA SUPREME COURT IN CONFERENCE this 13TH DAY OF JANUARY, 2020.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Combs, Kane and Rowe, JJ., Concur;

Colbert, J., Absent.







	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
